                                                                                   United States Courts
     Case 4:20-cr-00583 Document 136 Filed on 12/09/21 in TXSD PageSouthern
                                                                    1 of 29 District of Texas
                                                                                           FILED
                                                                                    December 9, 2021
                                                                               Nathan Ochsner, Clerk of Court
                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                  Sealed
                                                                         Public and unofficial staff access
                                                                              to this instrument are
UNITED STATES OF AMERICA                    §                               prohibited by court order
                                            §
v.                                          §              Criminal No. 20-cr-00583S
                                            §
AMIR AQEEL,                                 §              UNDER SEAL
RIFAT BAJWA,                                §
PARDEEP BASRA,                              §
MAYER MISAK,                                §
MAURICIO NAVIA ,                            §
HAMZA ABBAS,                                §
KHALID ABBAS,                               §
SYED ALI, and                               §
ABDUL FATANI,                               §

                       Defendants.

                                                 /



                                 SUPERSEDING INDICTMENT

       The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

       At various times material to this Superseding Indictment:

                                       The Defendants

       1.      Defendant AMIR AQEEL was a resident of Houston, Texas, within the Southern

District of Texas.

       2.      Conspirator Siddiq Azeemuddin was a resident of Naperville, Illinois, within the

Northern District of Illinois.

       3.      Defendant RIFAT BAJWA was a resident of Richmond, Texas, within the

Southern District of Texas.
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       4.      Defendant PARDEEP BASRA was a resident of Houston, Texas, within the

Southern District of Texas.

       5.      Defendant MAYER MISAK was a resident of Cypress, Texas, within the Southern

District of Texas.

       6.      Defendant MAURICIO NAVIA was a resident of Katy, Texas, within the Southern

District of Texas.

       7.      Conspirator Richard Reuth was a resident of Spring, Texas, within the Southern

District of Texas.

       8.      Defendant HAMZA ABBAS was a resident of Richmond, Texas, within the

Southern District of Texas

       9.      Defendant KHALID ABBAS was a resident of Richmond, Texas, within the

Southern District of Texas.

       10.     Defendant SYED ALI was a resident of Sugar Land, Texas, within the Southern

District of Texas.

       11.     Defendant ABDUL FATANI was a resident of Richmond, Texas, within the

Southern District of Texas.

       12.     Conspirator Jesus Acosta Perez was a resident of Houston, Texas, within the

Southern District of Texas.

                                      Relevant Entities

       13.     AF Logistics, LLC (“AF Logistics”) was a Texas Limited Liability Company that

was registered on or about February 6, 2018 to BASRA.




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       14.     Basra, LLC (“Basra”) was a Texas Limited Liability Company that was registered

on or about May 13, 2014. On or about June 17, 2019, BASRA became the registered agent for

the company.

       15.     Champion Automower Inc. (“Champion Automower”) was a Texas corporation

that was registered on or about October 11, 2018. Reuth was a manager.

       16.     Grandeur Construction, LLC (“Grandeur Construction”) was a Texas Limited

Liability Company that was registered on or about April 25, 2017 to NAVIA.

       17.     Houston Electronic Group, LLC (“Houston Electronic”) was a Texas Limited

Liability Company that was registered on or about January 30, 2018.

       18.     Jonathan’s Farms, Inc. (“Jonathan’s Farms”) was a Texas corporation that was

registered on or about February 19, 2003.

       19.     Kata Services, LLC (“Kata”) was a Texas Limited Liability Company that was

registered on or about September 12, 2017 to AQEEL. BAJWA was listed as a manager.

       20.     Log and Sod Leasing, LLC (“Log and Sod Leasing”) was a Texas Limited Liability

Company that was registered on or about January 3, 2005 to Reuth.

       21.     Popeshenouda, LLC (“Popeshenouda”) was a Texas Limited Liability Company

that was registered on or about February 7, 2019 to MISAK.

       22.     Sanad Inc. (“Sanad”) was a Texas Corporation that was registered on or about

February 18, 2005.

       23.     U.S. Auto Exchange Inc. (“US Auto Exchange”) was a Texas corporation that was

registered on or about July 20, 2017.

       24.     Youkeva LLC (“Youkeva”) was a Texas Limited Liability Company that was

registered on or about February 17, 2017.



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        25.    Acosta Diesel Truck Service, LLC (“Acosta Diesel”) was a Texas Limited Liability

Company that was registered on or about June 13, 2019 to Perez.

        26.    AR20, LLC (“AR20”) was a Texas Limited Liability Company that was registered

on or about January 3, 2020.

        27.    Bonanza Trading LLC (“Bonanza”) was a Texas Limited Liability Company that

was registered on or about September 15, 2015.

        28.    BZS, Inc (“BZS”) was a Texas corporation that was registered on or about May 3,

2010.

        29.    Event Palace, Inc (“Event Palace”) was a Texas corporation that was registered on

or about February 18, 2019 to ALI.

        30.    Faz Inc (“Faz”) was a Texas corporation that was registered on or about May 17,

2007 to ALI.

        31.    M&M Stores, Inc. (“M&M”) was a Texas corporation that was registered on or

about November 11, 2016 to HAMZA ABBAS.

        32.    Route 786 USA Inc. (“Route 786”) was a Texas corporation that was registered on

or about May 27, 2014 to FATANI.

        33.    Shield Trucking, LLC (“Shield Trucking”) was a Texas Limited Liability Company

that was registered on or about July 16, 2014 to Perez.

        34.    Star Line Logistics, LLC (“Star Line”) was a Texas Limited Liability Company

that was registered on or about January 29, 2020.

        35.    Z Cellular LLC (“Z Cellular”) was a Texas Limited Liability Company that was

registered on or about July 6, 2020 to FATANI.




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                               The Small Business Administration

       36.     The United States Small Business Administration (“SBA”) was an executive-

branch agency of the United States government that provided support to entrepreneurs and small

businesses. The mission of the SBA was to maintain and strengthen the nation’s economy by

enabling the establishment and viability of small businesses and by assisting in the economic

recovery of communities after disasters.

                                The Paycheck Protection Program

       37.     The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was a federal

law enacted in or around March 2020 that was designed to provide emergency financial assistance

to the millions of Americans who were suffering the economic effects caused by the COVID-19

pandemic. One source of relief provided by the CARES Act was the authorization of up to $349

billion in forgivable loans to small businesses for job retention and certain other expenses, through

a program referred to as the Paycheck Protection Program (“PPP”). In or around April 2020,

Congress authorized over $300 billion in additional PPP funding.

       38.     In order to obtain a PPP loan, a qualifying business was required to submit a PPP

loan application signed by an authorized representative of the business. The PPP loan application

required the business (through its authorized representative) to acknowledge the program rules and

make certain affirmative certifications in order to be eligible to obtain the PPP loan. In the PPP

loan application, the applicant (through its authorized representative) was required to state, among

other things: (a) its average monthly payroll expenses; and (b) its number of employees. These

figures were used to calculate the amount of money the small business was eligible to receive

under the PPP. In addition, the applicant was required to provide documentation showing its

payroll expenses.



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       39.     A business’s PPP loan application was received and processed, in the first instance,

by a participating lender. If a PPP loan application was approved, the participating lender funded

the PPP loan using its own monies. Data from the application, including information about the

borrower, the total amount of the loan, and the listed number of employees, was transmitted by the

lender to the SBA in the course of processing the loan.

       40.     PPP loan proceeds were required to be used by the business on certain permissible

expenses: payroll costs, interest on mortgages, rent, and utilities. The PPP allowed the interest

and principal on the PPP loan to be entirely forgiven if the business spent the loan proceeds on

these expense items within a designated period of time after receiving the proceeds and used a

certain amount of the PPP loan proceeds on payroll expenses.

                 Relevant Lending Institutions & Other Financial Institutions

       41.     Bank 1 was a federally insured financial institution based in New York.

       42.     Bank 2 was a federally insured financial institution based in Florida.

       43.     Bank 3 was a federally insured financial institution based in Utah.

       44.     Bank 4 was a federally insured financial institution based in New York.

       45.     Bank 5 was a credit union based in Texas.

       46.     Bank 6 was a federally insured financial institution based in North Carolina.

       47.     Bank 7 was a federally insured financial institution based in California.

       48.     Bank 8 was a commercial bank based in Pakistan.

       49.     Bank 9 was a bank based in Pakistan.

       50.     Bank 10 was a federally insured financial institution based in Texas.

       51.     Bank 11 was a federally insured financial institution based in Texas.




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        52.     Bank 12 was a federally insured financial institution based in New Jersey and New

York.

        53.     Bank 13 was a federally insured financial institution based in Missouri.

        54.     Bank 14 was a federally insured financial institution based in Virginia.

        55.     Bank 15 was a federally insured financial institution based in California.

        56.     Bank 1, Bank 2, Bank 3, Bank 10, Bank 11, Bank 12, and Bank 13 were authorized

by the SBA to participate as PPP lenders to small businesses.

        57.     Company 1, Company 2, and Company 3 were financial-technology companies.

Company 1 and Company 2 were based in California, and Company 3 was based in Georgia.

Company 1, Company 2, and Company 3 participated in the SBA’s PPP by, among other things,

acting as service providers between small businesses and certain lenders. Small businesses

seeking a PPP loan could apply through these companies, which would review the PPP loan

applications. If a PPP loan application received by one of these companies was approved for

funding, a partner lender, such as Bank 3, disbursed the loan funds to the applicant.

              OVERVIEW OF THE CONSPIRACY AND THE SCHEME TO DEFRAUD

        58.     Beginning in or around April 2020, and continuing until at least in or around

November 2020, within the Southern District of Texas, and elsewhere, the defendants conspired

together and with others, known and unknown to the Grand Jury, and with intent to defraud,

devised, participated in, executed, and attempted to execute a scheme and artifice to defraud the

SBA, Bank 1, Bank 2, Bank 3, Bank 10, Bank 11, Bank 12, Bank 13, Company 1, Company 2,

and Company 3, to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises.




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       59.       As part of the conspiracy and scheme, the defendants and their co-conspirators

submitted, and caused to be submitted, false and fraudulent PPP loan applications in the names of

certain entities to various lenders and companies. Many of these fraudulent PPP loan applications

were approved and the PPP loans were subsequently funded, as described below.

                              Lender /         Business      Approximate
       Business Name                                                            Funded
                              Company           Owner        Loan Amount

         AF Logistics           Bank 1          Person 1        $565,082          Yes

                             Company 1 /
               Basra                            BASRA            $67,691          Yes
                               Bank 3

         Champion
                                Bank 1           Reuth          $511,250          Yes
         Automower
          Grandeur
                              Company 2         NAVIA          $455,916.65        Yes
         Construction

              Houston
                                Bank 2          Person 2        $552,600          Yes
             Electronic


          Jonathan’s
                                Bank 2          Person 3        $331,600          Yes
            Farms


               Kata           Company 2         BAJWA          $176,332.50        Yes


          Log & Sod
                                Bank 1          Person 4        $564,165          No
           Leasing

                                                                                  Yes
        Popeshenouda            Bank 1          MISAK           $175,000


               Sanad          Company 3         Person 5        $468,460          Yes

             US Auto
                              Company 3         Person 6        $470,880          Yes
             Exchange


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             Youkeva
                               Bank 1           Person 7         $235,830          Yes



        Acosta Diesel          Bank 13              Perez        $187,500          Yes


              AR20             Bank 1          Person 11         $498,415          Yes


             Bonanza           Bank 1          Person 13         $479,164          Yes


                             Company 3/
               BZS                             Person 12         $454,166          Yes
                              Bank 12



         Event Palace          Bank 11              ALI          $375,000          No



                             Company 1 /        HAMZA
              M&M                                                $278,750          Yes
                               Bank 3           ABBAS


             Route 786         Bank 1           FATANI           $511,250          Yes


       Shield Trucking         Bank 10              Perez        $203,800          Yes


                                                                                   Yes
             Star Line         Bank 10         Person 14         $161,400




              PURPOSE OF THE CONSPIRACY AND SCHEME TO DEFRAUD

       60.      It was the purpose of the conspiracy and scheme to defraud for the defendants and

their co-conspirators to unjustly enrich themselves by fraudulently obtaining PPP loans under

false and misleading pretenses and to conceal the conspiracy and scheme from law enforcement.




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              MANNER AND MEANS OF THE CONSPIRACY AND SCHEME

        61.    Beginning in or around April 2020, and continuing until at least in or around

November 2020, the defendants and their co-conspirators submitted and caused the submission of

over 80 PPP loan applications, including, but not limited to, those listed in the chart following

Paragraph 59 (collectively, the “PPP Loan Applications”).         The defendants and their co-

conspirators submitted certain loan applications in the names of individuals who were unaware of

the scheme and whose identities were stolen by the defendants and others. In support of the PPP

Loan Applications, the defendants and others submitted, and caused to be submitted, false and

fraudulent documentation purporting to substantiate the monthly payroll expenses, assets, and

employee count alleged in the PPP Loan Applications. This supporting documentation included

false and fraudulent financial documents such as bank statements and Internal Revenue Services

(“IRS”) forms, in which the purported payroll expenses and the number of employees were

fabricated and inflated. The defendants and their co-conspirators also falsely certified on the PPP

Loan Applications that the PPP loan funds would be used to retain workers and cover payroll

expenses, and to make business mortgage interest payments, lease payments, and/or utility

payments. In reality, however, the defendants intended to and did in fact use the PPP Loan

Application funds impermissibly for their personal use and benefit.

        62.    After receiving the fraudulent loans, the defendants laundered a portion of the loan

funds through the use of fake payrolls in order to make the loans potentially forgivable at a later

date.

        63.    On numerous occasions during the course of and in furtherance of the conspiracy

and scheme, the defendants created fraudulent documents and/or attempted to procure documents

from government agencies to make the businesses listed on the PPP loan applications appear to be



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active and legitimate when, in fact, the businesses were dormant. On some occasions, the

defendants communicated over text message and explicitly stated how they would create

fraudulent documents or attempt to reinstate inactive entities to make the companies appear

eligible for PPP loans.

               a.         On or about July 7, 2020, AQEEL and NAVIA exchanged text messages

regarding the creation of fraudulent tax documents (IRS Form 940, IRS Form 941, and/or IRS

Form W-3) in connection with a PPP loan application on behalf of Jonathan’s Farms, stating, in

sum and substance:

               AQEEL:           Brother, we will need form 940 for Jonathan farms

               NAVIA:           I’ll get them done tomorrow morning is that ok? Or you need
                                them tonight?

               NAVIA:           What does the yearly have to look like?

               AQEEL:           We already did his W3.

               AQEEL:           Tomrrow am is fine like 8am.

               NAVIA:           I’ll get it done tonight bro.

               NAVIA:           Sent bro to . . . email.

               NAVIA:           All quarters 2019 and quarter 1 2020.

               AQEEL:           I think all we needed was one 940.

               AQEEL:           Not 941.

A PPP loan application on behalf of Jonathan’s Farms, which included false and fraudulent tax

documents, including a fraudulent IRS Form W-3 and an IRS Form 940, was submitted to Bank

2. Bank 2 funded the loan for approximately $331,600. The PPP loan application fraudulently

represented that Jonathan’s Farms had 24 employees, when in fact the company had no employees

on record.


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                  b.      On or about May 13, 2020, AQEEL and HAMZA ABBAS exchanged text

messages regarding forging documents to submit with PPP loan applications on behalf of Star

Line, which was owned by a relative of HAMZA ABBAS, and M&M, which was owned by

HAMZA ABBAS:

                  HAMZA ABBAS:            Uncle, Starline bank account was not open in
                                          February. 1 What if I change the name on different
                                          statements and edit them and make it show as
                                          Starline.

                  AQEEL:                  OK sure please do that

                  AQEEL:                  How about the account number use Perosnal account
                                          then please

                  HAMZA ABBAS:            For personal account I’ll send it to you and bank
                                          statement I will edit the name any of them

                  HAMZA ABBAS:            Does it matter if I just change the name and on the
                                          M&M store statement and also the bank account
                                          number in statement to match the personal bank
                                          account

                  HAMZA ABBAS:            I mean change the M&M name from bank statement
                                          and put StarLine logistics and also change bank
                                          account on the stamen

On or about May 15, 2020, a PPP loan application on behalf of M&M was submitted to Bank 3.

The application included the false and fraudulent documents created by HAMZA ABBAS. On

or about May 20, 2020, Bank 3 disbursed a PPP loan for M&M in the amount of $278,750.

Approximately six days after Bank 3 disbursed the PPP loan, HAMZA ABBAS and AQEEL

attempted to transfer approximately $108,000 in PPP loan funds to pay off a home mortgage of

AQEEL.




1
    Some of these conversations are translated from a foreign language.

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               c.     On or about May 18, 2020, HAMZA ABBAS emailed two fraudulent bank

statements that he had created to AQEEL. AQEEL and HAMZA ABBAS later disputed how

much HAMZA ABBAS was to be paid for forging bank statements. On or about May 21, 2020,

HAMZA ABBAS and AQEEL exchanged the following text messages:

               HAMZA ABBAS:         Uncle when will I get the 5K per statementt

               AQEEL:               Sure let me leave 52K and 5K Statement in your
                                    account and rest I will withdraw…is it good?

               HAMZA ABBAS:         Wasn’t it 10K. 5k each

               AQEEL:               No

               AQEEL:               I promise only 3K

               d.     On or about June 15, 2020, AQEEL and BASRA exchanged text messages

regarding securing a PPP loan for AF Logistics. AF Logistics was an inactive corporation in 2020

and, therefore, would have been ineligible for a PPP loan. Nevertheless, AQEEL and BASRA

sought to obtain documents from the State of Texas that would make the business appear to be

active to lenders:

               AQEEL:        We need to pay franchise fee and request reinstatement
                             ASAP

               AQEEL:        Let me try on line

               AQEEL:        Do you have webfile number for af logis?

               BASRA:        I have everything

Later that same day, after exchanging additional text messages, AQEEL sent BASRA a text

message with a screenshot from the Texas Comptroller website showing that “Amir Aqeel” had

paid a franchise tax for AF Logistics. AQEEL and BASRA then exchanged the following text

messages:



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              BASRA:         Excellent!

              AQEEL:         I already took care of it ... should let me print good
                             standing certificate in couple days

              AQEEL:         Then will repeat reinstatement

A PPP loan application on behalf of AF Logistics, which included false and fraudulent tax

documents, including fraudulent IRS Forms 941, was submitted to Bank 1. Bank 1 funded the

loan for approximately $565,082. The PPP loan application fraudulently represented that AF

Logistics had 29 employees, when in fact the company had no employees on record.

       64.    In furtherance of the conspiracy and scheme, the defendants often submitted

fraudulent PPP loan applications and received fraudulent PPP loan funds on behalf of companies

that the defendants knew were inactive companies with no employees.              On occasion, the

defendants and others referred to these companies as “shelf” companies and explicitly

acknowledged that they were inactive companies.

              a.      On or about June 30, 2020, AQEEL and Reuth exchanged text messages

multiple times regarding opening a bank account for Log and Sod Leasing in order to secure a PPP

loan before the PPP ended. In these conversations, AQEEL acknowledged that Log and Sod

Leasing as well as other entities under Reuth’s control, were not active entities with actual

employees. Then, on or about July 1, 2020, AQEEL texted Reuth, “We got extensions in

PPP…Let’s renew all companies to different people…Yahooooooo…I meant your shelf

companies.”

       65.    As part of the conspiracy and scheme, the defendants recruited third parties and

used the third parties’ corporate entities to apply for additional PPP loans. The defendants and

others divided the proceeds of these fraudulently obtained PPP loans amongst themselves.




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              a.      KHALID ABBAS supplied AQEEL and others with information about

Acosta Diesel and Shield Trucking, two corporate entities that were controlled by Perez. On or

about June 18, 2020, a PPP loan application on behalf of Acosta Diesel was submitted to Bank 13.

The PPP loan application contained false and fraudulent representations as to Acosta Diesel’s

number of employees and average monthly payroll. Bank 13 authorized a PPP loan in the amount

of approximately $187,500 to Acosta Diesel. Within a day of receiving the loan funds, Perez

provided approximately $93,750 of the fraudulently obtained PPP loan funds to KHALID

ABBAS.

              b.      On or about May 22, 2020, AQEEL and MISAK submitted fraudulent PPP

loan applications on behalf of two entities that MISAK controlled (Popeshenouda and Youkeva).

AQEEL and MISAK agreed that for these PPP loans, AQEEL would receive 33% of the proceeds.

In one text message exchange regarding the division of proceeds, in which MISAK threatened to

report AQEEL to the police, AQEEL wrote to MISAK: “With a payroll of 0 dollar how you got

approved for 400K.” MISAK did not respond. After receiving PPP loan proceeds from at least

two fraudulent PPP loans, MISAK recruited additional companies that were used by the defendants

to submit false PPP loan applications. On or about July 24, 2020, MISAK texted AQEEL about

new companies he had recruited: “Sent you 6 different profiles…I told them already for every

100k they will get on $33K…They all agreed.”

              c.      On or about June 19, 2020, AQEEL, in conjunction with ALI, submitted a

PPP loan application on behalf of ALI’s company, Event Palace, to Bank 11. The PPP loan

application contained false and fraudulent representations as to the number of employees and

average monthly payroll. Bank 11 denied the loan application because it could not verify that

Event Palace was an actual company.



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                 d.      ALI also recruited others to join the conspiracy and scheme in exchange for

kickbacks. For example, ALI supplied AQEEL with information about BZS, a company owned

by Person 12. A PPP loan application on behalf of BZS was submitted to Company 3. The PPP

loan application contained false and fraudulent representations as to BZS’s number of employees

and average monthly payroll. Company 3 authorized a PPP loan in the amount of approximately

$454,166. When Person 12 sought to return the loan, ALI threatened Person 12, telling Person

12: “You are getting in trouble and you will get all others in trouble too. Why are you putting them

at risk? You got the loan, use it and then return.” 2

          66.    At times, the defendants sought to disguise the true nature of their companies,

which either had no employees or had fewer employees than what was represented on the PPP

Loan Applications, by creating fraudulent payrolls following the successful receipt of fraudulently

obtained PPP loans.

                 a.      On or about August 5, 2020, Bank 10 disbursed a PPP loan in the amount

of approximately $203,800 to Shield Trucking. The PPP loan application contained false and

fraudulent representations as to Shield Trucking’s number of employees and average monthly

payroll. KHALID ABBAS instructed Perez to launder PPP loan funds through the creation of

fake payrolls and provided Perez with the names of fake employees to put on Cashier’s checks.

KHALID ABBAS then cashed the Cashier’s checks of the fake employees and retained those

funds, which totaled approximately $101,525.

                 b.      On or about June 5, 2020, Bank 1 disbursed a PPP loan in the amount of

approximately $498,415 to AR20. KHALID ABBAS cashed checks for fake employees of

AR20, which totaled approximately $271,212.95. The fake employee names put on the checks


2
    This conversation was in English and Urdu.

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for AR20 were some of the same names of the fake employees used on the Cashier’s checks for

the Shield Trucking loan.

       67.     On multiple occasions, the defendants exchanged text messages regarding lists of

fake employees, many of whom were friends or relatives of the defendants.

               a.     On or about July 9, 2020, AQEEL and NAVIA exchanged text messages

regarding payroll:

               AQEEL:        We are gonna run it 75k for each company

               AQEEL:        Every two weeks, to be on safe side

               NAVIA:        Ok so lemme call [IM] to make sure the numbers will meet
                             that quota

               NAVIA:        No check over 4000

               AQEEL:        True plus the employees count too

               NAVIA:        Ok brother when you can send me the names or, we can
                             give check guy the checks and send him the names like I
                             did last time

               NAVIA:        Whatever you think is best

               AQEEL:        I just send you the name and list

               AQEEL:        Start from list 1 and go all the way to list 5

               AQEEL:        Just keep the check between 3000 and 3500

               AQEEL:        Don’t forget to put pay check for reference and today’s date

               NAVIA:        Ok

               AQEEL:        Let [RM] aka check Guy, know

               b.     On or about August 12, 2020, AQEEL and BAJWA exchanged text

messages about the company IB Floors, LLC (“IB Floors”), whose two PPP loan applications were




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cancelled and not funded. BAJWA texted AQEEL: “For IB FLOORS there is no F941. How

many employees for W2 and which employee list to use?”

               c.     On or about June 30, 2020, FATANI and AQEEL exchanged text messages

about FATANI’s company, Route 786.          Despite having no real employees, Route 786 had

received a PPP loan in the amount of approximately $511,250. The PPP loan application on

behalf of Route 786 contained false and fraudulent representations as to the number of employees

and average monthly payroll. AQEEL and FATANI exchanged the following text messages:

               FATANI:        $100K were taken out just to update

               FATANI:        When is the next payroll check.

               AQEEL:         It’s on ist and 16th of every of every month

               AQEEL:         Thanks for update

               FATANI:        So tomorrow is 1st

FATANI then sent a text message to AQEEL with an image of 13 checks from Route 786 and each

check listed “payroll” as the purpose of the payment.

       68.     As part of the conspiracy, the defendants hid the true nature of the fraud by writing

purported paychecks to fake employees. The fake employees listed on these paychecks included

some of the defendants and some of their relatives. Many of these fake employees received

checks from multiple companies.

               a.     Person 8, a woman over 80 years of age and the mother of AQEEL, received

checks from at least six different companies that received fraudulent PPP loans, in addition to

receiving unemployment benefits. In actuality, Person 8 was not an employee of any of these

companies and did not receive any compensation from these entities prior to the companies

receiving fraudulent PPP loans.



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               b.     NAVIA received checks from at least eight different companies that

received fraudulent PPP loans, in addition to receiving a fraudulent PPP loan in the amount of

approximately $455,916.65 for his own company, Grandeur Construction. In actuality, NAVIA

was not an employee of any of these companies and did not receive any compensation from these

entities prior to the companies receiving fraudulent PPP loans.

               c.     Person 9 received checks from at least nine different companies.       In

actuality, Person 9 was not an employee of any of these companies and did not receive any

compensation from these entities prior to the companies receiving fraudulent PPP loans.

               d.     Person 10, a relative of Azeemuddin, received checks from at least four

different companies, including Grandeur Construction, which was owned by NAVIA.              In

actuality, Person 10 was not an employee of any of these companies and did not receive any

compensation from these entities prior to the companies receiving fraudulent PPP loans.

               e.     BASRA received checks from at least four entities that received fraudulent

PPP loans in addition to receiving a fraudulent PPP loan in the amount of approximately $67,691

for her own company, Basra. In actuality, BASRA was not an employee of the other four entities

and did not receive any compensation from these entities prior to the companies receiving

fraudulent PPP loans. During the same period, BASRA also received unemployment benefits.

       69.     As part of the conspiracy and scheme, the defendants laundered a portion of the

fraudulently obtained PPP loan proceeds by cashing checks on behalf of fake employees. The

defendants often utilized Fascare International, Inc., doing business as Almeda Discount Store

(“Almeda”), which was owned by Azeemuddin. During the course of the conspiracy and scheme,

over 1,100 fake paychecks totaling over $3 million in fraudulent PPP loan proceeds were cashed

at Almeda. On occasion, the defendants communicated about the use of Almeda to hide the fraud.



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               a.     On or about May 13, 2020, AQEEL texted Azeemuddin: “I will wash some

checks through your company too.”

               b.     On or about June 22, 2020, Azeemuddin texted AQEEL, “Also please send

names for checks…9 names…will use below 9 names.” AQEEL responded with 9 names, which

included BAJWA, MISAK, NAVIA, and Reuth.

       70.     In total, the defendants submitted over 80 fraudulent PPP loan applications to

various lenders seeking over $35 million in PPP loan funds. Ultimately, through the conspiracy

and scheme, the defendants obtained approximately $18 million in fraudulent PPP loan funds,

which they used for their personal benefit. Because the PPP loan funds were guaranteed by the

SBA, the defendants and their co-conspirators, defrauded, among others, the SBA, Bank 1, Bank

2, Bank 3, Bank 10, Bank 11, Bank 12, Bank 13, Company 1, Company 2, and Company 3.

                                          COUNT 1
                              Conspiracy to Commit Wire Fraud
                                     (18 U.S.C. § 1349)

       71.     Paragraphs 1 through 70 of the General Allegations section of this Superseding

Indictment are re-alleged and incorporated by reference as though fully set forth herein.

       72.     From in or around April 2020 through at least in or around November 2020 in the

Southern District of Texas, and elsewhere, the defendants,

          AMIR AQEEL, RIFAT BAJWA, PARDEEP BASRA, MAYER MISAK,

        MAURICIO NAVIA, HAMZA ABBAS, KHALID ABBAS, SYED ALI, and

                                       ABDUL FATANI

did knowingly and willfully combine, conspire, confederate, and agree with others, known and

unknown to the Grand Jury, to commit certain offenses against the United States, namely: wire

fraud, that is, to knowingly devise and intend to devise, a scheme and artifice to defraud, and to



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obtain money and property by means of materially false and fraudulent pretenses, representations,

and promises, and, for the purpose of executing such scheme and artifice, did knowingly transmit

and cause to be transmitted, by means of wire communication in interstate and foreign commerce,

certain writings, signs, signals, pictures, and sounds, in violation of Title 18, United States Code,

Section 1343.

                             PURPOSE OF THE CONSPIRACY

       73.      Paragraph 60 of the General Allegations section of this Superseding Indictment are

re-alleged and incorporated as a description of the purpose of the conspiracy.

                      MANNER AND MEANS OF THE CONSPIRACY

       74.      Paragraphs 61 through 70 of the General Allegations section of this Superseding

Indictment are re-alleged and incorporated as a description of the manner and means of the

conspiracy.

       All in violation of Title 18, United States Code, Section 1349.

                                   COUNTS 2 THROUGH 13
                                         Wire Fraud
                                      (18 U.S.C. § 1343)

       75.      Paragraphs 1 through 70 of the General Allegations section of the Superseding

Indictment are re-alleged and incorporated by reference as though fully set forth herein.

       76.      Beginning in or around April 2020, and continuing through in or around November

2020, in the Southern District of Texas and elsewhere, the defendants,

   AMIR AQEEL, RIFAT BAJWA, PARDEEP BASRA, MAYER MISAK, MAURICIO

     NAVIA, HAMZA ABBAS, KHALID ABBAS, SYED ALI, and ABDUL FATANI,

knowingly devised and intended to devise a scheme and artifice to defraud, and to obtain money

and property by means of materially false and fraudulent pretenses, representations, and promises.



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         77.   On or about the dates listed below, in the Southern District of Texas and elsewhere,

the following defendants, for the purpose of executing and attempting to execute the

aforementioned scheme and artifice to defraud, and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises, did, with intent to defraud,

cause the wire communications identified below to be transmitted by means of wire

communication in interstate commerce.

 COUNT         DEFENDANT(S)           APPROX.                       INTERSTATE
                                       DATE                  WIRE COMMUNICATION
     2             AQEEL             May 12, 2020     PPP loan application on behalf of Basra
                                                      electronically submitted from Texas, and
                   BASRA                              routed interstate through Company 1’s
                                                      servers outside of Texas.
     3             AQEEL             June 1, 2020     Wire transfer of $175,000 representing a
                                                      PPP loan disbursement from an account at
                   MISAK                              Bank 1 to an account at Bank 6 in the
                                                      Southern District of Texas.
     4             AQEEL             June 3, 2020     Wire transfer of $565,082 representing a
                                                      PPP loan disbursement from an account at
                   BASRA                              Bank 1 to an account at Bank 6 in the
                                                      Southern District of Texas.
     5             AQEEL             June 5, 2020     Wire transfer of $511,250 representing a
                                                      PPP loan disbursement from an account at
                                                      Bank 1 to an account at Bank 5.
     6             AQEEL             June 8, 2020     Wire transfer of $235,830 representing a
                                                      PPP loan disbursement from an account at
                   MISAK                              Bank 1 to an account at Bank 4 in the
                                                      Southern District of Texas.
     7             AQEEL             June 22, 2020    PPP loan application on behalf of Kata
                                                      electronically submitted from Texas, and
                   BAJWA                              routed interstate through Company 2’s
                                                      servers outside of Texas.
     8             AQEEL             June 26, 2020    PPP loan application on behalf of Grandeur
                                                      Construction electronically submitted from
                   NAVIA                              Texas, and routed interstate through
                                                      Company 2’s servers outside of Texas.
     9             AQEEL             July 15, 2020    Submission of wire instructions in
                                                      connection with a PPP loan application on
                                                      behalf of Log and Sod Leasing via email to
                                                      Bank 1.


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 COUNT           DEFENDANT(S)          APPROX.                         INTERSTATE
                                        DATE                   WIRE COMMUNICATION
     10              AQEEL            May 20, 2020      Wire transfer of $278,750 representing PPP
                                                        loan disbursement from an account at Bank
                 HAMZA ABBAS                            3 to an account at Bank 6 in the Southern
                                                        District of Texas.
     11              AQEEL            June 24, 2020     Wire transfer of $187,500 representing PPP
                                                        loan disbursement from an account at Bank
                 KHALID ABBAS                           13 to an account at Bank 6 in the Southern
                                                        District of Texas.
                     AQEEL             July 7, 2020     Wire transfer of $454,166 representing PPP
                                                        loan disbursement from an account at Bank
     12                ALI                              7 to an account at Bank 4.

                     AQEEL            June 26, 2020     An electronic transfer via check from Bank
                                                        14 to Bank 6.
     13              FATANI


          All in violation of Title 18, United States Code, Sections 1343 & 2.

                                        COUNTS 14 AND 15
                                      Aggravated Identity Theft
                                      (18 U.S.C. § 1028A(a)(1))

          78.     Paragraphs 1 through 70 of the General Allegations section of the Superseding

Indictment are re-alleged and incorporated by reference as though fully set forth herein.

          79.     On or about the dates specified in each count below, in, in the Southern District of

Texas, and elsewhere, the defendant,

                                           AMIR AQEEL,

during and in relation to a felony violation of Title 18, United States Code, Section 1343, that is,

wire fraud, did knowingly transfer, possess and use, without lawful authority, the means of another

person, as specific in each count below:

  Count          Approx. Date                         Means of Identification
   14           June 1, 2020      Name, social security number, and date of birth belonging to S.A.
                                  submitted to Bank 1 as part of PPP application in name of Route
                                  786.


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    15         June 1, 2020      Name, social security number, and date of birth belonging to J.A.
                                 submitted to Bank 1 as part of PPP application in name of
                                 Bonanza.


         All in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

                                COUNTS 16 THROUGH 21
            Engaging in a Monetary Transaction with Criminally Derived Property
                                    (18 U.S.C. § 1957)

         80.     Paragraphs 1 through 70 of the General Allegations section of this Superseding

Indictment are re-alleged and incorporated by reference as though fully set forth herein.

         81.     On or about the dates listed below, in the Southern District of Texas, and elsewhere,

the following defendants,

               AMIR AQEEL, KHALID ABBAS, SYED ALI, and ABDUL FATANI,

did knowingly engage and attempt to engage in the following monetary transactions, by, through,

and to a financial institution affecting interstate and foreign commerce, in criminally derived

property of a value greater than $10,000, that is, a transfer and withdrawal of funds, such property

being derived from a specified unlawful activity, that is, wire fraud in violation of 18 U.S.C. §

1343:



 COUNT DEFENDANT                    APPROX.                     FINANCIAL                 APPROX.
                                     DATE                     TRANSACTION                 AMOUNT
                                                       Wire transfer from account
                                                       ending in 3818 at Bank 4, held      $50,000
    16             AQEEL                               in the name of “Aqeel Amir dba
                                  May 15, 2020
                                                       IRS Services,” to a bank
                                                       account at Bank 8 in Pakistan.

                                                       Wire transfer from account
                                                       ending in 3782 at Bank 4, held      $50,000
                                  June 10, 2020
    17             AQEEL                               in the name of “Aqeel Amir dba
                                                       Tax Star Ins & Financials,” to a



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                                                  bank account at Bank 9 in
                                                  Pakistan.

                                                  Withdrawal from a checking
                                                  account ending in 3645 at Bank    $550,000
                                                  5, held in the name of “IRS
18            AQEEL                               Services” to purchase Official
                            August 13, 2020
                                                  Check 425410 to Patten Title
                                                  Company for the purchase of
                                                  the Majestic Canyon Lane real
                                                  property / AQEEL’s residence.

                                                  Withdrawal from a checking
             KHALID                               account ending in 9207 at Bank    $101,750
19           ABBAS          August 7, 2020        6, held in the name of Shield
                                                  Trucking, which was used to
                                                  purchase 15 Cashier’s checks.
                                                  Payment in the form of a check
                                                  from a checking account ending    $42,262
                                                  in 4257 at Bank 4, held in the
20          SYED ALI        August 4, 2020        name of Lazeeza Restaurant, for
                                                  loan number ending in 0270 at
                                                  Bank 15, held in the name of
                                                  Faz.
                                                  Deposit of check from a
                                                  checking account ending in        $100,000
                                                  0059 at Bank 14, held in the
21           FATANI         July 14, 2020         name of Route 786, into an
                                                  account ending in 7076 at Bank
                                                  4, held in the name of Z
                                                  Cellular.

     All in violation of Title 18, United States Code, Sections 1957 and 2.




                               NOTICE OF FORFEITURE

                         (18 U.S.C. §§ 981(a)(1)(C) & 982(a)(1))


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       82.     Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), the United States gives notice that upon a defendant’s conviction of

a Section 1349 or 1343 offense as charged in this Superseding Indictment, the United States will

seek forfeiture of all property, real or personal, which constitutes or is derived from proceeds

traceable to such offenses.

       83.     Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives

notice that upon a defendant’s conviction of a money laundering offense as charged in this

Superseding Indictment, the United States will seek forfeiture of all property, real or personal,

involved in money laundering offenses or traceable to such property.

                              Specific Property Subject to Forfeiture

       84.     The property subject to forfeiture includes, but is not limited to, the following:

                (a) real property on Majestic Canyon Lane in Houston, Texas, together
                    with all improvements, buildings, structures and appurtenances, and
                    legally described as follows:
                          Lot 2, in Block 1 of VINTAGE LAKES, SECTION TWO
                          (2), PARTIAL REPLAT NO. 3, a Subdivision of Harris
                          County, Texas according to the map or plat thereof,
                          recorded at Film Code No. 630270 of the Map Records
                          of Harris County, Texas.

                (b) 2013 Lamborghini Gallardo Spyder, VIN ZHWGU6BZ8DLA12803,
                    purchased in or about June 2020 and registered and titled to Texas Star
                    Ins & Financials, LLC, which is a business registered to AQEEL.

                (c) 2014 Porsche Panamera, VIN WP0AD2A73EL044709, titled to
                    Amir AQEEL, for which the automobile lien was paid off in May
                    2020.

                (d) $108,100.00 in cash seized from the AQEEL residence.

                (e) $156,906.56 seized from a First Service Credit Union checking
                    account held in the name of IRS Services, with an account
                    number ending in 3645.


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         (f) $88,692.22 seized from a First Service Credit Union savings
            account held in the name of IRS Services, with an account
            number ending in 3645.

         (g) $117,576.98 seized from a First Service Credit Union checking
            account held in the name of Tax Star Ins & Financials, with an
            account number ending in 5415.

         (h) $74,542.75 seized from a First Service Credit Union savings
            account held in the name of Tax Star Ins & Financials, with an
            account number ending in 5415.

         (i) $99,800.00 seized from a First Service Credit Union checking
            account held in the name of A&H Heyville LLC, with an account
            number ending in 7320.

         (j) $55,327.50 seized from a First Service Credit Union savings
            account held in the name of A&H Heyville LLC, with an account
            number ending in 7320.

         (k) $16,530.00 seized from a JPMorgan Chase Bank account held in
            the name of Amir Aqeel dba Tax Star Ins & Financials, with an
            account number ending in 3782.

         (l) $93,400.00 deposited on or about May 29, 2020, and seized from
            a suspense account at M&T Bank held in the name of Saima
            Aqeel, to be paid towards a mortgage note with borrowers Saima
            Aqeel and Amir Aqeel, with an account number ending in 1137.

         (m) $218,887.00 deposited on or about November 2, 2020, and seized
            from a suspense account at M&T Bank held in the name of Saima
            Aqeel, to be paid towards a mortgage note with borrowers Saima
            Aqeel and Amir Aqeel, with an account number ending in 1137.

         (n) $100,000.00 seized from a First Service Credit Union checking
            account held in the name of Amir Aqeel, with an account number
            ending in 4580.

         (o) $233,667.20 seized from a Bank of America account held in the
            name of AF Logistics LLC, with an account number ending in
            6181.



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